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17                                   UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
                                          SAN FRANCISCO DIVISION
19

20    AIRBNB, INC.,                                              Civil Case No.: 3:20-cv-00549-SI
21           Plaintiff,
                                                                 [PROPOSED] ORDER DISMISSING
22                                                               CASE WITH PREJUDICE
             v.
23
      NGD HOMESHARING, LLC, a Florida
24    limited liability company,
      and HARVEY HERNANDEZ, an individual,
25

26           Defendants.

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                                                          1
                                    [PROPOSED] ORDER DISMISSING CASE WITH PREJUDICE
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 1         IT IS HEREBY ORDERED that the above-captioned case is DISMISSED with prejudice.
 2

 3

 4   Dated: March 11
                  __, 2020                            ____________________________________
                                                      Hon. Susan Illston
 5                                                    United States District Court Judge

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                               [PROPOSED] ORDER DISMISSING CASE WITH PREJUDICE
